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Attorney for Debtor

                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  IN RE:
                                                    Case No. 19-42479
  MISTY M HUFFMAN,                                  Chapter 13


                                  Debtor(s)

DEBTOR’S OBJECTION TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY
    WITH REQUEST FOR WAIVER OF 30 DAY HEARING REQUIREMENT

        COMES NOW Debtor MISTY M HUFFMAN and files this Debtor’s Objection to

MOTION FOR RELIEF FROM THE AUTOMATIC STAY WITH REQUEST FOR WAIVER

OF 30 DAY HEARING REQUIREMENT, and in support hereof, would show the Court the

following:

        1.       The Debtor denies the allegations in paragraphs 4-6 of the Motion.

        2.       The Debtor admits the allegations in paragraphs 1 through 3 of the Motion.

        3.       The Debtor is unable to admit or deny the remainder of the allegations of the

Motion.

        4.       The Debtor contends that adequate protection exists and delinquencies will be

caught up in a reasonable time.




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       WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests this Court

strike and/or deny MOTION FOR RELIEF FROM THE AUTOMATIC STAY WITH REQUEST

FOR WAIVER OF 30 DAY HEARING REQUIREMENT, and grant such other and further relief

to which the Debtor may show herself to be justly entitled.



                                             Respectfully submitted,


                                             /s/ Greg R. Arnove
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                                  CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing document was served on the
following parties through the court’s electronic notification system as permitted by Appendix 5005
to the Local Rules of the U.S. Bankruptcy Court for the Eastern District of Texas, or by first class
mail, postage pre-paid this the 3rd day of January, 2020.

                                                     /s/ Greg R. Arnove
                                                     Greg R. Arnove


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